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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

BIO-RAD LABORATORIES, INC.                          )
                                                    )
               Plaintiff,                           )
                                                    )   C.A. No. __________________
       v.                                           )
                                                    )   JURY TRIAL DEMANDED
10X GENOMICS, INC.                                  )
                                                    )
               Defendant.                           )

                                          COMPLAINT

       Plaintiff Bio-Rad Laboratories, Inc. ("Bio-Rad") for its Complaint against Defendant 10X

Genomics, Inc. ("10X" or "Defendant"), hereby alleges as follows:

                                           PARTIES

       1.      Plaintiff Bio-Rad Laboratories, Inc. is a Delaware corporation having a principal

place of business at 1000 Alfred Nobel Drive, Hercules, CA 94547.

       2.      Upon information and belief, 10X Genomics, Inc., formerly known as 10X

Technologies, Inc., is a Delaware corporation having a principal place of business at 7068 Koll

Center Parkway, Suite 401, Pleasanton, CA 94566.

                                 NATURE OF THE ACTION

       3.      This is a civil action for patent infringement of the following patents by

Defendant 10X: United States Patent Nos. 9,562,837 ("the '837 patent") and 9,896,722 ("the

'722 patent") (collectively, the "Asserted Patents"). This action is based upon the Patent Laws of

the United States, 35 U.S.C. §1 et seq.




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                                    JURISDICTION AND VENUE

       4.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331 and 1338(a).

       5.      This Court has personal jurisdiction over 10X by virtue of the fact that, inter alia,

10X committed, aided, abetted, induced, contributed to, and/or participated in the commission of,

tortious acts of patent infringement that have led to foreseeable harm and injury to Bio-Rad in

Delaware. This Court has personal jurisdiction over 10X for the additional reasons set forth

below and for other reasons that will be presented to the Court if such personal jurisdiction is

challenged.

       6.      This Court has personal jurisdiction over 10X by virtue of, inter alia, the fact that

10X is a Delaware corporation.

       7.      Venue is proper in this District under 28 U.S.C. § 1400(b) because 10X resides in

Delaware.

                                 THE ASSERTED PATENTS

       8.      On February 7, 2017, the United States Patent and Trademark Office duly and

legally issued the '837 patent, titled "Systems for Handling Microfluidic Droplets." Bio-Rad is

the sole owner of the '837 patent. A copy of the '837 patent is attached hereto as Exhibit A.

       9.      On February 20, 2018, the United States Patent and Trademark Office duly and

legally issued the '722 patent, titled "System For Handling Microfluidic Droplets." Bio-Rad is

the sole owner of the '722 patent. A copy of the '722 patent is attached hereto as Exhibit B.

                          ACTS GIVING RISE TO THIS ACTION

       10.     Husband and wife David and Alice Schwartz started Bio-Rad in 1952 in a 1,600

square foot Quonset hut in Berkeley, California as a research-focused company to deliver life

science products and services to identify, separate, purify, and analyze chemical and biological

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materials. The company went public in 1966 and expanded into the clinical diagnostics market

soon thereafter. Bio-Rad quickly established itself as a leader in the field of life science research

and clinical diagnostics, and today may of Bio-Rad's products and tools used in the

biotechnology industry are recognized as the gold standard.

       11.     A centerpiece of many of Bio-Rad's products is its Droplet Digital™ technology.

This technology involves partitioning biological samples by placing them in individual

microdroplets that are formed based on emulsion chemistry. Using this technology, researchers

can create a large numbers of partitions, each one for carrying out a reaction, with a minimum

amount of sample handling and a minimum amount of sample volume. A variety of different

reactions may be carried out inside the droplets, including polymerase chain reaction ("PCR"),

and various reactions to prepare samples for next generation sequencing ("NGS").

       12.     Bio-Rad's Droplet Digital™ technology permits amplification of very small

amounts of sample, e.g., a single cell ("Single Cell Analysis") or a single molecule of nucleic

acid. Very dilute samples are used, such that many droplets do not contain a sample at all, hence

the name, Droplet Digital™.       Droplets containing samples can be thought of as "1s," while

droplets containing no sample can be thought of as "0s." Bio-Rad's Droplet Digital™ technology

reduces bias in preparing samples for NGS.

       13.     Bio-Rad began offering its Droplet Digital™ PCR ("ddPCR™") Systems brands

in 2011 following its acquisition of QuantaLife, Inc. ("QuantaLife") and its digital droplet PCR

technology. The work at QuantaLife and subsequently at Bio-Rad led to a large number of

patents being granted throughout the world concerning droplet-based emulsion systems and

methods.




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       14.     Bio-Rad's droplet digital technology was a breakthrough that greatly advanced the

capabilities of PCR and NGS. Just one year after the launch of Bio-Rad's first generation

product, the number of papers citing Bio-Rad's droplet digital method using PCR nearly

quintupled.

       15.     Over the next couple of years, more than 250 peer-reviewed papers were

published in the fields of cancer, liquid biopsy, virology, and other diseases that cited to Bio-

Rad's technology.

       16.     The Droplet Digital™ technology and many of Bio-Rad's patents in this field are

directed to the critical steps of forming the droplets, which are a result of advances in both

microfluidics and surfactant chemistry. As shown in the image here, in the patented technology,

the sample is partitioned into miniaturized droplets that are formed as water-in-oil emulsions

(e.g., microdroplets of water surrounded by oil) by passing samples and oil through

microchannels in a microfluidic chip and collecting the droplets in a collection well.




       17.     Bio-Rad's Droplet Digital™ technology is capable of partitioning a single sample

into approximately 20,000 microdroplets.


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       18.     Certain applications of Bio-Rad's Droplet Digital™ technology that prepare

samples for NGS start with the patented steps of forming droplets by flowing certain solutions

together. For example, one method of encapsulating cells involves flowing adaptors that are

uniquely barcoded together with the sample cells to be studied. These two aqueous solutions are

then brought into a contact with a continuous solution such as an oil to form a droplet containing

the sample and the barcodes. The cells can be lysed and the mRNA in the cells can be barcoded.

With these preparatory steps performed one can then use other reagents and tools to perform

sequencing, determine copy number, or perform other modes of analysis.                 This patented

preparatory method allows more individual cells to be analyzed in a highly scalable fashion than

was previously possible.

       19.     Bio-Rad's ddSEQ™ Single-Cell Isolator uses Droplet Digital™ technology to

encapsulate single cells and barcodes into subnanoliter droplets, where cell lysis and barcoding

of cellular messenger RNA occur. Libraries are generated representing the messenger RNAs

from single cells that can be sequenced for Single Cell Analysis.

       20.     Bio-Rad has spent years and hundreds of millions of dollars researching,

acquiring and developing its Droplet technology and portfolio that is the foundation for many

droplet-based applications such ddPCR™ and NGS and Single Cell Analysis.

       21.     On January 16, 2017, Bio-Rad acquired RainDance Technologies, Inc.

("RainDance"), and all of its intellectual property, including the Asserted Patents.

       22.     After Bio-Rad acquired RainDance, RainDance assigned all of its rights in the

Asserted Patents to Bio-Rad.

       23.     Since its founding, RainDance helped to transform disease research by making

innovative tools using its proprietary technologies that simplify complex genetic analysis.



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RainDance's patented droplet system fundamentally enhances the way researchers and scientists

study cell-based and cell-free biomarkers in cancer, infectious disease, and inherited disorders.

       24.     Starting in 2012, several Bio-Rad employees left to found 10X Technologies,

Inc., which later became Defendant 10X Genomics. This company, like Bio-Rad, focused on

developing systems and methods for generating droplet-based emulsions.

       25.     In 2015, 10X launched a droplet-based emulsion system called GemCode that

used the claimed microchips and chemistry for forming droplets that can be used in, among other

things, Next Generation Sequencing and Single Cell Analysis.

       26.     Approximately one year later, 10X launched an updated version of its droplet-

based emulsion system called Chromium.

       27.     On information and belief, the GemCode and Chromium products both utilized

the same scientific principles to create emulsions in a microfluidics chip, and use the same type

of microfluidic chips. Both the GemCode and Chromium products infringe the claims of the

Asserted Patents.

                     Count I – Infringement of U.S. Patent No. 9,562,837

       28.     Bio-Rad incorporates all of the above paragraphs as though fully set forth herein.

       29.     10X has infringed, and continues to infringe, literally and/or under the doctrine of

equivalents, one or more claims of the '837 patent pursuant to at least 35 U.S.C. § 271(a), by

making, using, selling, offering to sell in the United States, and/or importing into the United

States, without authority, certain emulsion formation products, including, without limitation, the

Chromium and GemCode products ("Accused Products").

       30.     10X is making, using, selling, offering to sell, and/or importing within the United

States multiple Chromium products, including at least the Single Cell DNA, Single Cell 3',



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V(D)J, Single Cell ATAC, Genome, Exome, and de novo products. (10x Genomics Product

Website, https://www.10xgenomics.com/solutions/ (last accessed October 18, 2018).)

       31.    These products are used in conjunction with Chromium Controller instruments,

which accept the microfluidic chips used to partition samples and create droplets.        The

Chromium product line is a continuation of the prior GemCode product line, which infringes for

the same reasons identified for the Chromium products.

       32.    The accused Chromium Controllers include:          the Chromium Single Cell

Controller & Accessory Kit, 12 Mo. Warranty (120263); Chromium Single Cell Controller &

Accessory Kit, 24 Mo. Warranty (120212); Chromium Controller & Accessory Kit, 24 Mo.

Warranty (120246); Chromium Controller & Accessory Kit, 12 Mo. Warranty (120223).

       33.    The accused Chromium reagents include: Chromium Chip B Single Cell Kit

48rxns (1000073); Chromium Chip B Single Cell Kit 16rxns (1000074); Chromium Chip C

Single Cell DNA Kit, 48rxn (1000022); Chromium Chip D Single Cell DNA Kit, 48rxn

(1000042); Chromium i7 Multiplex Kit, 96rxns (120262); Flowmi Filter, 50 rxns (1000055);

10X Chromium Chip D Holder (1000053); 10X Magnetic Separator A (1000054); Chromium

Single Cell 3' Library and Gel Bead Kit v3 4rxns (1000092); Chromium Single Cell 3' Library

and Gel Bead Kit v3 16rxns (1000075); Chromium i7 Multiplex Kit N, Set A 96rxns (1000084);

Chromium Single Cell 5' Library & Gel Bead Kit 16rxns (1000006); Chromium Single Cell 5'

Library & Gel Bead Kit 4rxns (1000014); Chromium Single Cell 5' Library Construction Kit 16

rxns (1000020); Chromium Single Cell A Chip Kit 16rxns (1000009); Chromium Single Cell A

Chip Kit 48rxns (120236); Chromium Single Cell V(D)J Enrichment Kit, Human B Cell 96rxns

(1000016); Chromium Single Cell V(D)J Enrichment Kit, Human T Cell 96rxns (1000005);

Chromium Single Cell V(D)J Enrichment Kit, Mouse B Cell 96rxns (1000072); Chromium



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Single Cell V(D)J Enrichment Kit, Mouse T Cell 96rxns (1000071); Chromium Single Cell

ATAC Library & Gel Bead Kit, 16rxns (1000110); Chromium Single Cell ATAC Library & Gel

Bead Kit, 4rxns (1000111); Chromium Single Cell ATAC Chip E Kit, 48rxns (1000082);

Chromium Single Cell ATAC Chip E Kit, 16rxns (1000086); Chromium Genome HT Library &

Gel Bead Kit v2, 96rxns (120261); Chromium Genome Library Kit & Gel Bead Kit v2, 16rxns

(120258); Chromium Genome Chip Kit v2, 48rxns (120257); Chromium Automation Accessory

Kit (1000008); Chromium Genome HT Library & Gel Bead Kit v2 for Exome Application,

96rxns (1000018); Chromium Genome Library & Gel Bead Kit v2 for Exome Application,

16rxns (1000017); and Chromium Post Capture Amplification Kit, included with 1000017 (1

qty), 1000018 (6 qty).

       34.      The accused Chromium software includes: Cell Ranger, Cell Ranger DNA, Long

Ranger, Supernova, Loupe Cell Browser, Loupe V(D)J Browser, Loupe scDNA Browser, Loupe

Genome Browser, Cell Ranger ATAC, Long Ranger Analysis Pipelines, Cell Ranger Analysis

Pipelines, Loupe scDNA Browser, and the Supernova Assembler.

       35.      For example, the Accused Products contain each element of and infringe claim 1,

which states:

       Claim 1. An assembly, the assembly comprising:

       a microchannel in a horizontal plane;

       at least one droplet formation module comprising a sample inlet, an immiscible
       fluid inlet, and a junction, wherein the junction is located between the sample
       inlet and the microchannel and the droplet formation module is configured to
       produce droplets comprising the sample surrounded by the immiscible fluid; and

       at least one downstream separation chamber comprising a droplet receiving
       chamber inlet and at least one droplet receiving outlet, wherein the separation
       chamber is upright to the microchannel and out of the horizontal plane;

       wherein the droplet formation module and the separation chamber are in fluid
       communication with each other via the microchannel; and wherein the

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       separation chamber has a wider cross-section than the microchannel cross-
       section to accumulate a plurality of droplets comprising the sample and is of a
       volume sufficient to separate the plurality of droplets comprising the sample
       from the immiscible fluid within the separation chamber.

10X infringes each element of claim 1 of the '837 patent for at least the following reasons.

Preamble: An assembly, the assembly comprising:

       36.      To the extent the preamble is limiting, the Preamble is met because the Accused

Products use an assembly to form emulsion droplets. The accused 10X microfluidics chips are

"assemblies":




Exhibit C, Black Sales Presentation, at 32.

Element 1a: a microchannel in a horizontal plane;

       37.      This element is met by microchannels in a horizontal plane along the bottom

surface of the 8-Channel Microfluidics Chip, as shown below. The microchannel is shown the

red box in the diagram below, containing blue droplets, and is shown in the red box on the right

side of the photograph, containing droplets.




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Exhibit C, Black Sales Presentation, at 7; Exhibit D, 10X Single Cell Application Note, at 1.

Element 1b: at least one droplet formation module comprising a sample inlet, an immiscible
fluid inlet, and a junction, wherein the junction is located between the sample inlet and the
microchannel and the droplet formation module is configured to produce droplets comprising
the sample surrounded by the immiscible fluid; and

       38.     This element is met, as shown below, by droplet formation modules contained in

the "8-Channel Microfluidics Chip," which produces emulsion droplets containing sample

("GEMs"). Each channel in the microfluidics chip (shown by dotted lines in the figure below)

comprises a droplet formation module, comprising a sample inlet, an immiscible fluid inlet, and

a junction, wherein the junction is located between the sample inlet and the microchannel, and

the droplet formation module is configured to produced droplets comprising the sample

surrounded by the immiscible fluid. For example, a row of sample inlets in the microfluidics

chip is indicated by a green arrow in the diagram below, and labeled "Cells + Reagents." The

row of immiscible fluid inlets is indicated by a red arrow in the diagram below, and labeled

"Oil." The junction in the figure below is indicated by a red square. As can be seen in the

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figure, the junction is located between a sample inlet (e.g., the dark gray microchannel labeled

"Cells / Reagents,") and the microchannel (shown in light gray to the right of the junction).




Exhibit D, 10X Single Cell Application Note, at 1 (annotated).

       39.      The microfluidics assemblies of the Accused Products are configured to produce

droplets comprising the sample surrounded by the immiscible fluid (oil). As shown in the red

box in the figure below, the 8-Channel Microfluidics Chip produces "GEMs." These "GEMs"

are "nanoliter-scale Gel Bead-In-EMulsions (GEMs)." See Exhibit E, 10X Chromium Single

Cell 3' Reagent Kits v. 2 User Guide, Rev B, at 2. "GEMs" are droplets comprising gel beads,

some of which also comprise a cell (shown as small blue circles in the light blue droplets

("Single Cell GEMs")) surrounded by the immiscible fluid (oil), shown in light gray in the

microchannel.




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Exhibit D, 10X Single Cell Application Note, at 1 (annotated).

Element 1c: at least one downstream separation chamber comprising a droplet receiving
chamber inlet and at least one droplet receiving outlet, wherein the separation chamber is
upright to the microchannel and out of the horizontal plane;

         40.   This element is met by the downstream separation chamber, indicated as "Outlet

well" in the figure below. The separation chamber comprises a droplet receiving chamber inlet,

connecting the separation chamber to the microchannel, so that the GEMs can collect in the

separation chamber. The separation chamber further comprises a droplet receiving outlet, so that

the GEMs can be collected by pipetting out of the separation chamber, as shown in the figures

below.




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Exhibit D, 10X Single Cell Application Note, at 1 (annotated).




Exhibit C, Black Sales Presentation, at 32.




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Exhibit E, Single Cell 3' User Guide, at 15 (annotated).




Exhibit E, Single Cell 3' User Guide, at 16 (annotated).




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Exhibit E, Single Cell 3' User Guide, at 55 (red box annotation added; orange arrows original).

Element 1d: wherein the droplet formation module and the separation chamber are in fluid
communication with each other via the microchannel; and wherein the separation chamber has
a wider cross-section than the microchannel cross-section to accumulate a plurality of droplets
comprising the sample and is of a volume sufficient to separate the plurality of droplets
comprising the sample from the immiscible fluid within the separation chamber.

       41.     This element is met by the droplet formation module and the separation chamber

("Outlet well") in the microfluidics assemblies of the Accused Products. The outlet well and

droplet formation module are in fluid communication with each other via the microchannel, as

shown in the figure below. Fluid flows from the junction to the separation chamber (outlet well)

via the microchannel.




Exhibit D, 10X Single Cell Application Note, at 1 (annotated).

       42.     The separation chamber of the microfluidics assemblies of the Accused Products

has a wider cross-section than the microchannel cross-section. As 10X's Chromium Single Cell

3' User Guide states, "[t]he generation of GEMs occurs in channels that are narrower than the

typical human hair (i.e. <100 μm)." Exhibit E, Single Cell 3' User Guide, at 6. The separation

chamber, on the other hand, has a cross section larger than that of the average pipette tip, as

shown below:

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Exhibit E, Single Cell 3' User Guide, at 16.

        43.     The separation chamber of the microfluidics assemblies of the Accused Products

collects the sample-containing droplets and is of a volume sufficient to separate the plurality of

droplets comprising sample (GEMs) from the immiscible fluid (oil) within the separation

chamber (outlet well). For example, the 10X Chromium Single Cell 3' User Guide instructs the

user to "aspirate 100 ul of GEMs from the lowest points of the recovery wells," indicating that

the droplets have been separated from the immiscible fluid (oil) and collected at the bottom of

the outlet well(s):




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Exhibit E, Single Cell 3' User Guide, at 15.

         44.   The fact that the user can withdraw 100 ul of GEMs from the bottom of each of

the recovery wells indicates that separation occurred in the wells because the protocol involves

loading a total volume of 130 ul of gel beads and mix and cells and 270 ul of oil, for production

of a total maximum volume of about 130 ul of GEMs. Exhibit E, Single Cell 3' User Guide, at

11-13.

         45.   The protocol instructed the user initially to transfer 90 ul of Master Mix

containing cells to the "cells + reagents" wells on the microfluidics chip:




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Exhibit E, Single Cell 3' User Guide, at 12.

       46.     The protocol further instructed the user to transfer 40 ul of Single Cell 3' Gel

Beads into the Bead Well:




Exhibit E, Single Cell 3' User Guide, at 13.



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       47.      The protocol further instructed the user to transfer 270 ul of Partitioning Oil into

the Oil Well:




Exhibit E, Single Cell 3' User Guide, at 13.

       48.      Therefore, a total of 130 ul of Gel Beads and Master Mix containing cells are

loaded into each channel of the microfluidics chip, for a maximum possible total recovery of

GEMs of about 130 ul. Withdrawal of 100 ul of GEMs, less than the total maximum volume of

GEMs, from the bottom of the recovery wells demonstrates successful separation of GEMs from

the immiscible fluid (oil).

       49.      The protocol further instructs the user that after the pipette tips containing the

GEMs are withdrawn from the wells, "GEMs should appear opaque and uniform across all

channels." Exhibit E, Single Cell 3' User Guide, at 16. The Single Cell 3' User Guide further

instructs the user that the presence of excess "Partitioning Oil" in the pipette tips, which would

indicate a lack of separation of the GEMs from the oil, indicates a malfunction of the system




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caused by a clog: "The presence of excess Partitioning Oil (clear) in the pipette tips indicates a

potential clog during GEM generation." Exhibit E, Single Cell 3' User Guide, at 16.

       50.     The following images from the Single Cell 3' User Guide demonstrate the

differences between successful operation of the system and faulty operation of the system:




Exhibit E, Single Cell 3' User Guide, at 53.

       51.     In particular, where there are clogs in the system such that 100 ul of GEMs are

not recovered, the pipette tips will contain both oil and GEMs. See, e.g., Exhibit E, Single Cell

3' User Guide, at 53 (pipette tip G in the image on the right hand side image above). The

presence of oil in the tips indicates a malfunction of the system, demonstrating that when the

system functions properly, the GEMs separate from the oil in the recovery wells and collect at

the bottom of the wells.

       52.     On information and belief, 10X has sold the Chromium Product in the United

States since at least February 2016 and the GemCode Product since at least February 2015.


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       53.      On information and belief, 10X commercially manufactures, uses, offers for sale,

sells within the United States, or imports into the United States the Chromium and/or GemCode

Products. 10X's making, using, selling, offering for sale, and importation of the Chromium and

GemCode Products infringes at least claim 1 of the '837 patent under 35 U.S.C. § 271(a).

       54.      As the direct and proximate result of 10X's conduct, Bio-Rad has suffered and, if

10X's conduct is not stopped, will continue to suffer, severe competitive harm, irreparable injury,

and significant damages, in an amount to be proven at trial. Because Bio-Rad's remedy at law is

inadequate, Bio-Rad seeks, in addition to damages, temporary, preliminary, and permanent

injunctive relief.   Bio-Rad's business operates in a competitive market and will continue

suffering irreparable harm absent injunctive relief.

                                         COUNT II
                          (Infringement of U.S. Patent No. 9,896,722)

       55.      Bio-Rad incorporates all of the above paragraphs as though fully set forth herein.

       56.      On information and belief, 10X has infringed and continues to infringe, literally

or under the doctrine of equivalents, one or more claims of the '722 Patent pursuant to 35 U.S.C.

§ 271(a) by making, using, selling, offering to sell in the United States, and/or importing into the

United States, without authority, microfluidic DNA sequencing products, devices, systems,

and/or components of systems including without limitation, the Accused Products.

       57.      For example, the Accused Products contain each element of and infringe claim 1,

which states:

       Claim 1. A method of reducing contamination associated with sample handling,
       comprising:

       providing an aqueous fluid comprising a sample through a sample inlet;

       providing an immiscible fluid flowing through a main channel that is in fluidic
       communication with the sample inlet, wherein the main channel is in a
       horizontal plane;

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       partitioning the aqueous fluid with the immiscible fluid to form a plurality of
       droplets in the main channel, wherein at least one droplet comprises a sample;

       flowing the droplets toward a downstream separation chamber that is in fluidic
       communication with the main channel;

       wherein the separation chamber has a wider cross-section than the main channel
       cross-section and the separation chamber is disposed perpendicular to the main
       channel; and

       separating the plurality of droplets from the immiscible fluid in the separation
       chamber based on the different densities of the droplets and the immiscible
       fluid.

10X infringes each element of claim 1 of the '722 patent for at least the following reasons:

Preamble: A method of reducing contamination associated with sample handling, comprising:

       58.     To the extent the preamble is limiting, this element is met by the Accused

Products, which, when used in their intended manner, encapsulate samples into individual

emulsion droplet compartments, to prevent cross contamination between the reactions taking

place in each emulsion droplet compartment. The figure below shows sample encapsulated

within emulsion droplets ("GEMs").




Exhibit D, 10X Single Cell Application Note, at 1.

Element 1a: providing an aqueous fluid comprising a sample through a sample inlet;


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       59.     This element is met because the Accused Products, when used in their intended

manner, provide at least the "Cells + Reagents" fluid that comprises a "sample" provided through

a sample inlet, shown as the row of wells indicated by "Cells + Reagents." The "Cells +

Reagents" are in an aqueous fluid. See, e.g., Exhibit E, Single Cell 3' User Guide, at 10

(providing a "Cell Suspension Volume Calculator Table" indicating the "Volume of Nuclease-

free Water per reaction (ul)" and "Volume of Cell Suspension Stock per reaction (ul)").




Exhibit D, 10X Single Cell Application Note, at 1.




Exhibit C, Black Sales Presentation, at 32.

Element 1b: providing an immiscible fluid flowing through a main channel that is in fluidic
communication with the sample inlet, wherein the main channel is in a horizontal plane;



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       60.     This element is met because the Accused Products, when used in their intended

manner as shown below, provide oil (shown in light gray), flowing through a main channel (red

box) in fluidic communication with a sample inlet (e.g., "Cells/Reagents" channel extending

from the "Cells + Reagents" sample well) (blue box). The main channel is in the horizontal

plane of the 8-channel microfluidics chip. The main channel is in fluidic communication with

the sample inlet because the fluid from the sample inlet (e.g., dark gray) flows through the

junction into the main channel.




Exhibit D, 10X Single Cell Application Note, at 1 (annotated).

Element 1c: partitioning the aqueous fluid with the immiscible fluid to form a plurality of
droplets in the main channel, wherein at least one droplet comprises a sample;

       61.     This element is met by the Accused Products, which, when used in their intended

manner, partition the aqueous fluid (sample fluid) with the immiscible fluid (oil), as shown

above, to form a plurality of droplets in the main channel (red box in the figure above), wherein

at least one droplet comprises a sample (GEM).

Element 1d: flowing the droplets toward a downstream separation chamber that is in fluidic
communication with the main channel;



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       62.     This element is met by the Accused Products used in their intended manner, in

which the sample-containing droplets (GEMs) flow down the main channel (red box) towards

the outlet wells shown as light blue circles below. In addition, the Chromium Single Cell 3'

Reagent Kits v2 User Guide, Rev B, directs users to "aspirate 100 ul of GEMs from the lowest

points of the Recovery Wells" after the barcoding reaction had been completed. Exhibit E,

Single Cell 3' User Guide, at 15.




Exhibit D, 10X Single Cell Application Note, at 1 (annotated).




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Exhibit E, Single Cell 3' User Guide, at 15.

Element 1e: wherein the separation chamber has a wider cross-section than the main channel
cross-section and the separation chamber is disposed perpendicular to the main channel; and

       63.     The separation chamber ("Recovery" or "Outlet" well) of the microfluidics

assemblies of the Accused Products has a wider cross-section than the cross-section of the main

channel. As 10X's Chromium Single Cell 3' User Guide states, "[t]he generation of GEMs

occurs in channels that are narrower than the typical human hair (i.e. <100 μm)." Exhibit E,

Single Cell 3' User Guide, at 6. The separation chamber, on the other hand, has a cross section

larger than that of the average pipette tip, as shown below.




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Exhibit E, Single Cell 3' User Guide, at 16.

       64.     This element is met by the separation chamber ("Recovery" or "Outlet" well) in

the microfluidics assemblies of the Accused Products, which is disposed perpendicular to the

main channel, as shown below in the red boxes.




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Exhibit E, Single Cell 3' User Guide, at 15 (annotated).




Exhibit E, Single Cell 3' User Guide, at 16 (annotated).




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Exhibit E, Single Cell 3' User Guide, at 55 (red box annotation added; orange arrows original).

Element 1f: separating the plurality of droplets from the immiscible fluid in the separation
chamber based on the different densities of the droplets and the immiscible fluid.

        65.     This element is met by the Accused Products, used in their intended manner,

which separate the plurality of droplets (GEMs) from the immiscible fluid (oil) in the separation

chamber ("Recovery" or "Outlet" well) based on the different densities of the droplets and the

immiscible fluid (oil). For example, the 10X Chromium Single Cell 3' User Guide instructs the

user to "aspirate 100 ul of GEMs from the lowest points of the recovery wells," indicating that

the droplets have been separated from the immiscible fluid (oil) and collected at the bottom of

the outlet well(s), as a result of the different densities of droplets and oil:




                                                   29
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Exhibit E, Single Cell 3' User Guide, at 15.

         66.   The fact that the user can withdraw 100 ul of GEMs from the bottom of each of

the recovery wells indicates that separation occurred in the wells because the protocol involves

loading a total volume of 130 ul of gel beads and mix and cells and 270 ul of oil, for production

of a total maximum volume of about 130 ul of GEMs. Exhibit E, Single Cell 3' User Guide, at

11-13.

         67.   The protocol instructed the user initially to transfer 90 ul of Master Mix

containing cells to the "cells + reagents" wells on the microfluidics chip:




Exhibit E, Single Cell 3' User Guide, at 12.

         68.   The protocol further instructed the user to transfer 40 ul of Single Cell 3' Gel

Beads into the Bead Well:




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Exhibit E, Single Cell 3' User Guide, at 13.

       69.      The protocol further instructed the user to transfer 270 ul of Partitioning Oil into

the Oil Well:




Exhibit E, Single Cell 3' User Guide, at 13.



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       70.     Therefore, a total of 130 ul of Gel Beads and Master Mix containing cells are

loaded into each channel of the microfluidics chip, for a maximum possible total recovery of

GEMs of about 130 ul. Withdrawal of 100 ul of GEMs, less than the total maximum volume of

GEMs, from the bottom of the recovery wells demonstrates successful separation of GEMs from

the immiscible fluid (oil).

       71.     The protocol further instructs the user that after the pipette tips containing the

GEMs are withdrawn from the wells, "GEMs should appear opaque and uniform across all

channels." Exhibit E, Single Cell 3' User Guide, at 16. The Single Cell 3' User Guide further

instructs the user that the presence of excess "Partitioning Oil" in the pipette tips, which would

indicate a lack of separation of the GEMs from the oil, indicates a malfunction of the system

caused by a clog: "The presence of excess Partitioning Oil (clear) in the pipette tips indicates a

potential clog during GEM generation." Exhibit E, Single Cell 3' User Guide, at 16.

       72.     The following images from the Single Cell 3' User Guide demonstrate the

differences between successful operation of the system and faulty operation of the system:




Exhibit E, Single Cell 3' User Guide, at 53.

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        73.    In particular, where there are clogs in the system such that 100 ul of GEMs are

not recovered, the pipette tips will contain both oil and GEMs. See, e.g., Exhibit E, Single Cell

3' User Guide, at 53 (pipette tip G in the image on the right hand side image above). The

presence of oil in the tips indicates a malfunction of the system, demonstrating that when the

system functions properly, the GEMs separate from the oil in the recovery wells and collect at

the bottom of the wells.

        74.    On information and belief, 10X began selling the Chromium Product in the

United States since at least February 2016 and the GemCode Product since at least February

2015.

        75.    On information and belief, 10X commercially manufactures, uses, offers for sale,

sells within the United States, or imports into the United States the Chromium and/or GemCode

Products. 10X's making, using, selling, offering for sale, and importation of the Chromium and

GemCode Products infringes claim 1 of the '722 patent under 35 U.S.C. § 271(a).

        76.    As the direct and proximate result of 10X's conduct, Bio-Rad has suffered and, if

10X's conduct is not stopped, will continue to suffer, severe competitive harm, irreparable injury,

and significant damages, in an amount to be proven at trial. Because Bio-Rad's remedy at law is

inadequate, Bio-Rad seeks, in addition to damages, temporary, preliminary, and permanent

injunctive relief.   Bio-Rad's business operates in a competitive market and will continue

suffering irreparable harm absent injunctive relief.

                                 DEMAND FOR JURY TRIAL

        77.    Bio-Rad demands a jury trial on all issues so triable.

                                    PRAYER FOR RELIEF

        WHEREFORE, Bio-Rad prays for judgment as follows:

        a.     That 10X has infringed the Asserted Patents;

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       b.      That 10X, its officers, agents, servants, and employees, and those persons in

active concert or participation with any of them, be preliminarily and permanently enjoined from

commercially manufacturing, using, offering for sale, selling in the United States, or importing

into the United States, the Accused Products, and any other product that infringes or induces or

contributes to the infringement of the Asserted Patents, prior to the expiration date of the last to

expire of those patents;

       c.      That Bio-Rad be awarded monetary relief sufficient to compensate Bio-Rad for

damages resulting from 10X's infringement of the Asserted Patents, including lost profits and/or

a reasonable royalty under 35 U.S.C. § 284, and that such monetary relief be awarded to Bio-Rad

with prejudgment and post-judgment interest;

       d.      That Bio-Rad be awarded enhanced damages, up to and including trebling of the

damages awarded to Bio-Rad;

       e.      That Bio-Rad be awarded the attorneys' fees, costs, and expenses that it incurs

prosecuting this action under 35 U.S.C. § 285 and;

       f.      That Bio-Rad be awarded such other and further relief as this Court deems just

and proper.




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                                       Respectfully submitted,

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